 

ee ELECTRONICALLY
UNITED STATES BANKRUPTCY COURT,
: ‘DISTRICT OF NEVADA — . APR 2 4 2014
FILED

  

Inve’ AT Emerild, LLC Cage No, _1450331-BTR
CHAPTER: 11
MONTHLY OF RR ATING REPORT

we oe (SNEALL REAL ESTATE/INDIVIDUAL CASE)

: SUMMARY OF FINANCIAL STATUS
MONTH ENDED: taf) [if PETEONDATE: ©
1. Debtor fy possesetan (ov trustee) hereby submits this Montily Operating Regoit onthe Acoraal Basis.of neeqantiog (or checked here

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Pollars reported ln HY,

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End of Current
2. — Ageefand Liability Srractire
a Curent Assets
b, Totyl Asseta
e: Ciptent Ligbilinies
4, Total Liabilities

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4. - Aitétemenét of Gash Receipt & Disbursements thy Moath
& Total Reseypts
b. Total Phabuceam ante a
&. RBxooss (Daficiency).of Repsipts Crver Disbursements (a- bo
d, Cash Balance Beginning of Month ——tang. cf ok
a Cash Balance Bnd of Month (c+ 4) Biba?

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Profly(@.csh) front the Statument of Operations = 7 ‘ Pie
Account Keeelvables (Pra and Poxt Patifien) E

Post-Petition Liabtittios
Past Duc Past-Petliion Aceatnt Payables (over iF daye)

 

 

 

 

 

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Atithe end of this reporting month:
8 _ Have any payments heen made of pre-patiogy debt, other then payments i the normal wy)
cangae'ty-secured exeditnre ar lessors? Gf yes, attach listing motuding dato of
Payment, aiount of payment and nams of payed)
9. Have any payments boen made to-proftasiuals? (yea, attach listing including date of 4
, Farment, ampict of payrnent ond mime of pate)
10. Ifthe answer ds yey to 8 ox 9, were all such paymeny approved by itis. cout? xf
Y
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XxX

 

 

ML Have any payments bean made to offleey, Inslderg, shareholders, relatives’? (ityes,
anech listing including date of payment, amount anuj reason Sor payment, and name of payee)

12. Is tho defate insured for replacement coe’ af tients anid for poreral Ligbillity?

1 Aranpian aod disclosure statement om file?

14. Was there any poshpetition borrowing ducing ‘this separting pariod? ‘ :

18, ‘Check if paid: Post-petition mxes CLS. Trustes Quarterly Fees 77 hac ngs eurene oe Pont pation
fax reporting and taxretarns:
(Attach oxplanation, if posp-patition tax faxes or 0.8. Frostes Quarterly Fees are not paid coment or if post-petition tax seporing and tax enn
fillngs are not caviwnt.)

T declare under penalty of perjuty J have reviewed the above summary amd attached financial statements, and after making reasonable inquiry
' -befleve thse documents are comect

Date: oY co 2 g-ly

 

 

 

 

Responsible ladiidual

Teaviead L/DE
 

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asic Business Checking®

Account number: QR 65 16. @ February 21, 2014 - March 19, 2014 mm Page 1 of 4

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fess AT EMERALD LLC
? 7725 PEAVINE PEAK CT
RENO NV 89523-4914

 

 

Questions?

Available by phone 24 hours a day, 7 days a week:
9-800-CALL-WELLS (1-800-225-5935)
TTY: 1-800-877-4833 -

En espariol: t-877-337-7454

Online: wellsfargo.com/biz

Write: Wells Fargo Bank, N.A. (825)
P.O. Box 6995
Portland,.OR 97228-6995

 

Your Business and Wells Fargo

The Wells Fargo Business Insight Resource Center offers free access to business
information and advice through videos, articles, podcasts and other resources.
This site offers objective information from industry experts and best practices
from real business owners. Topics include cash flow management, how to build
and apply for credit, commercial real estate financing, marketing, and more. Visit
the site at wellsfargobusinessinsights.com.

 

 

Activity summary
Beginning balance on 2/21 $4,016.24
Deposits/Credits 0.00
Withdrawals/Debits - 4,024.24
Ending balance on 3/19 -$8.00
Average ledger balance this period $1,192.54.

Overdraft Protection

 

Account options

A check mark in the box indicates you have these convenient
services with your account(s). Ga to wellsfargo.com/biz or
call the number above if you have questions or if you would
like to add new services.

Business, Online Banking
Online Statements C]
Business Bill Pay [7]
Business Spending Report
Overdraft Protection C]

| Account number: (B65 16

| ATEMERALD LLC

| Nevada account terms and canditions apply
i For Direct Deposit use

# Routing Number (RTN): @qjgmmBO742

For Wire Transfers use

I. Routing Number (RIN): @lO248

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements

please cal] the number listed on your statement or visit your Wells Fargo store.

ZE8v-0 S28 7200 LOO NNN NNN NNNNNNNNNN £Z€200 OALNELYQOG

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Account number: S@EBG516 @ February 21, 2014- March 19, 2014 @ Page 2 of 4

 

 

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Credits Debits balance
2/24 : POS Purchase - 02/22 Mach ID:000000 1200 Pitt School Road 76.62
Dixon CA 5407 00384054019381314 ?McC=5542
2/24 POS Purchase - 02/23 Mach ID.000000 Aisle 1155 Reno. NV 5407 102.27
00584055068097467 ?7McC=5411
2/24 POS Purchase - 02/23 Mach ID 000000 Raley S 105 Reno NV 5407 116,54 3,720.81
00584055084675563 ?McC=5411 -
2/25 : Check Crd Purchase 02/24 Papa John's #03052 775-787-2999 Nv 23.70 3,697.11
430741 xxxxxx5407 464055076059880 ?7McC=5814
2/27 Withdrawal Made In A Branch/Store 2,155,00 1,542.11
3/3 POS Purchase - 03/03 Mach ID 000000 5150 F Mae Anne Avenue 75,54 1,466.57
_ ___ Reno NV 5407 00464063013940717 7McC=5542
3/4 Withdrawal Made In A Branch/Store 1,266.57 200.00
3/12 Withdrawal Made In A Branchi/Store 200.00 0.00
3/9 Monthly Service Fee 8:00 -8.00
Ending balance on 2/19 : . . $00
Totais $0.00 $4,024.24

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. if you had insufficient available funds when a transaction posted, fees may have been assessed.
Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker, Go to wellsfargo.com/feefagq to find answers to common questions about the monthly service fee on your account.

 

Fee period 02/21/2014 - 03/19/2014 Standard monthly service fee $8.00 You paid $8.00
How to avoid the monthly service fee Minimum required This fee period
Have any ONE of the following-account requirements
+ Minimum daily balance $3,000.00 $0.00 []
+ Average ledger balance $6,000.00 $1,193.00 []
> Qualifying transaction from a linked Wells Fargo Business Payroll Services account 1 0 EF] °
WRAWR a
&

 

We want to tell you about upcoming changes to your Basic Business Checking account.

Effective April 7, 2014, the name.of your account wil change to Business Checking. The account monthly service fee will be $12. This
fee cam’ be'waived with anyone of the following: .

- $3,000 minimum daily balance

- $6,000 average ledger balance

- Qualifying transaction from a linked Wells Fargo Business Payroll Services Account

if you do not meet one of the requirements noted above, the monthly service fee will appear on your April manthly statement dated
on or after April 7, 2014. Monthly service fee details can be found in the "Monthly service feé summary” section of your statement.

 

What is not changing:
- Your account number will remain the same.
- Automatic bill payments will not be interrupted.

Fee change effective April 1, 2014
- Collections - Domestic: Auto Draft - $25 per item

 
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Account number; MMS S16 fi February 21, 2014 - March 19, 2014 @ Page 3 of 4-

 

 

If you have questions about these changes, or would like a complimentary financial review to ensure that you have the right accounts
to.meet your financial-goals, please contact your local banker or call the phone number listed at the top of your statement.

 

Did you know that you can review your safe deposit box information through Wells Fargo Business Online Banking? Sign on to
business online banking at wellsfargo.com/biz and go to your account summary page to review-details.

 

 

IMPORTANT ACCOUNT INFORMATION

Amendment to Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16,.2014, we will increase the amount of your deposit that is made immediately available to you when

you make a check deposit at a Wells Fargo ATM. The first $200 of'a day's check deposits madeat a Wells Fargo ATM willy
be immediately available for your use or withdrawal on the day we receive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available.

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Account number: @@B6516 ag February 21,2014 - March 19, 2014 m Page 4.of4

  

 

General statement policies for Wells Fargo Bank

i Notice: Wells Fargo Bank, N.A. may furnish information about accounts
belonging to individuass, including sole proprietorships, to consumer
reporting agencies. If this applies to you, you have the right to dispute the
accuracy of information that we have reported by writing to us at: Overdraft
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.

You must describe the specific information that is inaccurate or in dispute

and the basis for any dispute with supporting documentation. In-the case of
information that relates to an identity theft, you will need to provide us with

an identity theft report.

 

Account Balance Calculation Worksheet

1. Use the following worksheet to calculate your overall account balance.

2. Go through your register and mark each check, withdrawal, ATM
transaction, payment, deposit or other credit listed on-your statement.
Be sure that your register shows any interest paid into your account and
any service charges, automatic payments or ATM transactions withdrawn

fromm your account during this staternent period.

"3. Use the chart to the right to list any deposits, transfers to your account,

outstanding checks, ATM withdrawals, ATM payments or any other
withdrawals (including arty from previous months) which are listed in

your register but net shown on your statement. °

ENTER
A. The ending balance
shown on your statement... 00... cere ketene $

ADD

8. Any deposits fisted in your §
register or transfers into §
your account which are not $
shown on your statement. +§

CALCULATE THE SUBTOTAL
{Add Parts A and B)

SUBTRACT
C, The total outstanding checks and
withdrawals from the chart above ...........55 -§

CALCULATE THE ENDING BALANCE
(Part A+ Part B - Part C)
This amount should be the same

 

as the current balance shown in .
your check register... ci cece ieee cere eee eee $

 

 

 

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Number

ems Outstanding

Total amount $

Amount

 

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asic Business Checking®

Account number: @aaiaE576 @ March 20, 2014 - March 31, 2014 g-Page 1 of 4

   

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cxsfafoeeGpagE Ufone UE eel gh fart HAL eg lala
AT EMERALD LLC

7725 PEAVINE PEAK CT

RENO NV 89523-4914

| Questions?
Available by phone 24 hours a-day, 7 days.a week:
1-800-CALL-WELLS (1-800-225-5935)

TTY: 1-800-877-4833
En espanol: 1-877-337-7454

    
 

| Online: wellsfargo.com/biz

| Write: Wells Fargo Bank, N.A. (825)
P.O. Box 6995
Portland, OR 97228-6995

You are receiving this statement because this account and other accountts) you have with the same account owner(s). and mailing
address will be consolidated into one easy-to-read statement. The information you currently receive will not change. We hope you will
enjoy this new convenience and "greener" approach. If you do not want your statements combined, please speak with your banker orcall
the number on your statement.

 

Your Business and Wells Fargo Account options

The Wells Fargo Business Insight Resource Center offers free access to business A check mark in the box indicates you have these convenient
information and advice through videos, articles, podcasts and other resources. services with your account{s). Go to wellsfarga.com/biz or
This site offers objective information from industry experts and best practices a the number above Ifyou have questions or if you would
from real business owners. Topics:include cash flow management, how to build ,
and apply for credit, commercial real estate financing, marketing, and more. Visit Business Online Banking
the site at wellsfargobusinessinsights.com. Online Statements

Business Bill Pay

Business Spending Report

Overdraft Protection

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Activity summary Account number: QRS 5 16
Beginning balance on 3/20 -$8.00 AT EMERALD LLC #
Deposits/Credits 8.00 Nevada account terms and conditions apply 3
Withdrawals/Debits ~ 0,00 For Direct Deposit use 8
Ending balance on 3/31 50,00 : Routing Number (RTN): QagagpO7 42 iy

 

For Wire Transfers use
Routing Number (RTN): @iqpO248

Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.

 
   

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Account number: (6516 @ March 20, 2014 - March 31, 2014 m Page 2 of 4

 

 

Transaction history

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Credits Debits balance
3/28 | _. Monthly Service Fee Reversal 8.00 ecm, 0.00
Ending balance on 3/31 0.00
Totals $8.06 $6.00

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have beén outstanding on your account when your
transactions posted. Ifyou had insufficient available funds when a transaction posted, fees may have been assessed.

Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to.a banker, Go to wellsfargo.com/eefaq to find answers to common questions about the monthly service fee on your account.

Fee period 03/20/2014 - 03/31/2014 Standard monthly service fee $8.00 You paid $0.00

The bank has waived the fee for this fee period. a

How to avoid the monthly service fee : Minimum required This fee period
Have any ONE of the following account requirements
+ Minimum daily balance $3,000.00 $0.00 [7]
+ Average ledger balance $6,000.00 $0.00 [J
* Qualifying transaction from a linked Wells Fargo Business Payroll Services account 1 oT]
wRWA

 

We want to tell you about upcoming.changes to your Basic Business Checking account.

Effective April 7, 2014, the name of your account will change to Business Checking. The account monthly service fee will be $12. This
fee can be waived with any one of the following:
- $3,000 minimum daily balance

- $6,000 average ledger balance
- Qualifying transaction froma linked Wells Fargo Business Payroll Services Account

Slelei

if you do not meet one of the requirements noted above, the monthly service fee will appear on your April monthly statement dated
on or after April 7, 2014. Monthly service fee details can be found in the "Monthly service fee summary" section of your statement.

What is not changing:
- Youraccount number will remain the same.
- Automatic bill payments will not be interrupted.

Fee change effective April 1, 2014
- Collections - Domestic: Auto. Draft - $25 per item

if you have questions about these changes, or would like a complimentary financial review to ensure that you have the right accounts
to meet your financial goals, please contact your local banker or call the phone number listed at the top of your statement.

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Did you know that you can review your safe deposit box information through Wells Fargo Business Online Banking? Sign on to
business online banking at wellsfargo.com/biz and go to your account summary page to review details.

 

 

 
 

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Account number; @B6516 @ March 20, 2014 - March 31,2014 @ Page 3 of 4

“a

 

 

 

i IMPORTANT ACCOUNT INFORMATION

Amendment te Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16; 2014; we-will increase the amount of your deposit that is made immediately available to you when
you. make a check deposit at a Wells Fargo ATM. The first $200 of a day's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal on the day we recéive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available. ‘

> IE9SEBOL

Go

SIZLB) SZB ZOO ZOO NNN NNN NNNNNNNNNN 00F£60 PALAL LOO

 
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Account number: EB G 516 gq March 20, 2014- March 31,2014

Page 4 of 4

 

 

 

General statement policies for Wells Fargo Bank

gi Notice: Wells Fargo Bank, N.A. may furnish information about accounts
belonging to individuals; including sole proprietorships, to consumer
reporting agencies. If this applies to you, you have the right.to dispute the
accuracy of information that we have reported by writing to us at: Overdraft
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.

You must describe the specific information that is inaccurate or in dispute
and the basis for any dispute with supporting documentation. In the case of
information that relates to an identity theft, you will need to provide us with
an identity theft report.

 

Account Balance Calculation Worksheet
1, Use the following worksheet to.calculate your overall account balance.

2. Go through your register and mark each check, withdrawal, ATM
transaction, payment, deposit or other credit listed on your statement.
Be sure that your register shows any interest paid into your account and
any service charges, automatic payments or ATM transactions withdrawn
from your account during this statement period.

3. Use the chart to the right to list any deposits, transfers to your account,
* outstanding checks, ATM withdrawals, ATM payments or any other
withdrawals (including any from previous months) which are listed in
your register but not shown on your statement.

ENTER
A. The ending balance
shown on your statement.......0:6is- sees renee $

ADD .

B. Any deposits listed in your $
register or transfers into S
your account which are not $
shown on your staternent. 4:§

$

CALCULATE THE SUBTOTAL
(Add Parts A and B)

SUBTRACT
C. The total outstanding checks and
withdrawals from the chart above ............. -§

CALCULATE THE ENDING BALANCE
(Part A + Part B - Part C}
This amount should be the same

 

as the current balance shown in

 

 

your check register.............. Va eeee NV eaeeenes §

 

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,

Number items Outstanding Amount

—
ao
=
nN
NM
o

 

Total amount §

 

 
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Primary account number: Qiigp6909 w@ March 28, 2014- March 31,2014

031557 1 AV 0.381 48511

bens Dopag tg PeppeseefefE lng pha gf pled gf gtactl pag fllyag pene
AT EMERALD LLC AND ANTHONY THOMAS

DEBTOR IN POSSESSION

CH 11 CASE # 14-50333(DNY)
7725 PEAVINE PEAK CT
RENO NV 89523-4914

 

 

 

Page 1 of 5

Questions?

 

Available by phone 24 hours a day, 7 days a week:
1-800-CALL-WELLS (1-800-225-5935)

TTY: 1-800-877-4833 _
En espanol: 1-877-337-7454

Online: wellsfargo.com/biz

Write: Wells Fargo Bank, NA. (825)
P.O. Box 6995
Portland, OR 97228-6995

 

 

Your Business and Wells Fargo

The Wells Fargo Business Insight Resource Center offers free access to business
information and advice through videos, articles, podcasts and other resources.
This site offers objective information from industry experts and best practices
from real business owners. Topics include cash flow management, how to build
and apply for credit, commercial real estate financing, marketing, and more. Visit
the site at wellsfargobusinessinsights.com.

Account options

A check mark in the box indicates you have these convenient
services with your account(s). Go to wellsfargo.com/biz or
call the number above if you have questions ar if you would

like to add new services.

Business Online Banking
Online Statements
Business Bill Pay

Business Spending Report
Overdraft Protection

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iv]
iv]
[|

 

 

 

Summary of accounts
Checking/Prepaid and Savings
Ending balance Ending balance
Account Page Account number last statement this statement
Gold Business Services Package 2 RD 6909 0.00 75.00
Business Market Rate Savings 4 , @omma.1793 0.00 0.00
Tatal deposit accounts $0.00 $75.00

S$8ece8t See £00 LCO NNN NNN NNNNNNNNNN 2S$ 280 CALNE LWOOG

ZLEGSEROL

 

 

 
     

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Primary account number: @ERB 6909 gy March 28, 2014 - March 31, 2014 @ Page 2 of 5

 

 

 

Gold Business Services Package

 

| Account number: Qa ES09

 

Activity summary
Beginning balance on 3/28 $0.00 | AT EMERALD LLC AND ANTHONY THOMAS
nara rsa0 | cat cases 14-soas3i0Nv
Withdrawals/Debits - 0,00 . (DNV)

| Nevada account terms.and conditions apply
Ending balance on 3/31 $75.00 ;
, | For Direct Deposit use
| Routing Number (RTN): mpo742
Average ledger balance this period $75.00 '

For Wire Transfers use
| Routing Number (RTN): @MBO248

 

Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please cali the number listed on your statement or visit your Wells Fargo store.

 

Transaction history

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description ' Credits Debits balance
3/28 Deposit Made [tn A Branch/Store 75,00 75.00

 

Ending balance on 3/31 75.00

Totals \_$75.00 \ $0.00

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted, Ifyou had insufficient available funds when a transaction posted, fees may-have been assessed.

Nionthly service fee summary

 

 

 

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreernent applicable to a
your. account or talk to. a banker. Go to wellsfargo.com/eefaq to find answers to common questions about the monthly service fee on your account. S
oD
Fee period 03/28/2014 - 03/31/2014 Standard monthly service fee $14,00 You paid $0.00
Your fee waiver is about to expire. You will need to meet the requirement(s) to.avoid the monthly service fee.
How to avoid the monthly service fee (complete 1 AND 2) Minimum required This fee period
1) Have any ONE of the following account requirements
+ Averagé ledger balance $7,500.00 $75.00 [J
» Qualifying transaction from a linked Wells Fargo Business Payroll Services account 1 ot
* Qualifying transaction from a linked Wells Fargo Merchant Services account 1 , 0
» Automatic transfer to an eligible Wells Fargo business savings account $150.00 $0.00 [}
« Linked Direct Pay Service through Wells Fargo Business Online 1 6
» Combined balances in linked accounts, which may include $10,000.00 O
- Average ledger balances in business checking, savings, and time accounts /
- Most recent statement balances of: business credit card, Wells Fargo Express waa
Equity® and BusinessLine® lines of credit, Wells Fargo BusinessLoan® term loan ee

- Average daily balances from previous month in business PrimeLine® line of
credit and Business PrimeLoan*account, Wells Fargo Express Equity®, SBA, and
Equipment Express® loans

2) Complete the package requirements

» Have qualifying linked accounts or services in separate categories* 3 Vj

 
 

 

 

 

 

 

Monthly service fee summary (continued)

*iacludes Wells Fargo business accounts and services such as debit card, savings accounts, active Online Banking, credit card, loans and lines of credit.
cuca

 

Account transaction fees summary

 

 

: Units Excess Service charge per Total service
Service charge description : Units used included units excess units ($) charge (S$)
Transactions 1 200 0 0.50 0.00
Total service charges ; $0.00

 

Did you know:-that you can review your safe deposit box information through Wells Fargo Business Online Banking? Sign on to
business online banking at wellsfargo. com/biz and go to your account summary page to review details.

 

Thank you for opening your Wells Fargo Business Services Package account. In order to ensure you are satisfied with your account,
Wells Fargo will be waiving the Monthly Service Fee for the first 90 days to allow you to meet your package requirements. To learn how
you can. continue to waive the Monthly Service Fee following the 90 day grace period, consult your Fee and Information Schedule,
contact your banker or call the National Business Banking Center at the number located on the top of your statement.

  

IIMPORTANT ACCOUNT INFORMATION

We want to Jet you know of the following fee change effective April 1, 2014:
- Collections - Domestic: Auto Draft - $25:per item

The-name of your account will continue to be the Gald Business Services Package.

if you have questions about these changes, or would like a complimentary financial review to ensure that you have the right accounts
to meet your financial goals, please contact your focal banker or cail the phone number listed at the top of your statement.

Amendment to Funds Availability Policy - Check Deposits at a Wells Fargo ATM

Effective March 16, 2014, we will increase the amount of your deposit that is made immediately available to you when
you make.a check deposit at a Wells Fargo ATM, The first $200 of.a- day's check deposits made at a Wells Fargo ATM will
be immediately available for your use or withdrawal on the day we receive the deposit. Cash deposits made at a Wells
Fargo ATM are always immediately available.

L£8cz81 S28 £00 200 NNN NNN NNNNNNNNNN 299560 PALOLLVOOG

“LEQSESOL

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Primary account number: @MMMB6909 ww March 28, 2014 - March 31,2014 m Page 4 of 5

 

 

Business Market Rate Savings

 

 

Activity summary | Account number: QB 723
Beginning:balance on 3/28 $0.00 i AT:EMERALD LLC AND ANTHONY THOMAS
Deposits/Credits 0.00 | cht CASE # 18 60x33(DNV
Withdrawals/Debits - 0,00 ~ )

| Nevada account-terms and conditians apply
Ending balance on 3/31 $0.00 |

For Direct Deposit use
"| Routing Number (RTN): @am0742

: For Wire Transfers use
| Routing Number (RTN): P0248

 

 

Interest summary

Interest paid:this'statement: $0.00
Average collected balance $0.00
Annual percentage yield earned 0.00%
Interest earned this statement period $0.00
Interest paid this year $0.00
Total interest paid in 2013 $0.00

- Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account:Agreement applicable to
your account or talk.to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account.

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Fee period 03/28/2014 - 03/31/2014 . Standard monthly service fee $6.00 You paid $0.00
The bank has waived the fee for this fee period. For the next fee period, you need to meet the requirement(s) to avoid the monthly service fee.

How to avoid the monthly service fee Minimum required This fee period

Have any ONE of the following account requirements 8
+ Average collected balance $500.00 $0.00 [J 9%
~ Automatic transfer from an eligible Wells Fargo business checking account $100,00 $0.00 []

YOYE

\NT_ ACCOUNT INFORMATION.

 

We want to let you know of the following fee change effective April 1, 2014:
~ Collections - Domestic: Auto Draft - $25 per item

if you have questions about these changes, or would like a complimentary financial review to ensure that you have the right accounts
to meet your financial goals, please contact your local banker or call the phone number listed at the top of your statement. a

 

 
 

 

   

  

 

General statement policies for Wells Fargo Bank

@ Notice: Weils Fargo Bank, N.A. may furnish information about accounts
belonging to individuals, including scle proprietorships, to consumer
reporting agencies. If this applies to you, you have.the right to dispute the
accuracy of information that we have reported by writing to us. at; Overdraft
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.

You must describe the specific information that is inaccurate or in dispute
and the basis for any dispute with supporting documentation. in the case of
information that relates to an identity theft, you will need to provide us with
an identity theft report.

 

Account Balance Calculation Worksheet
1. Use the following worksheet to'calculate your overall account balance,

2, Go through your register and mark each check, withdrawal, ATM
transaction, payment, deposit or other credit listed on your statement.
Be sure that your register shows any interest paid into your account and
any service charges, automatic payments or ATM transactions withdrawn
from your account during this statement period.

3. Use the chart to the right to list any deposits, transfers to your account,
outstanding checks, ATM withdrawals, ATM payments or any other
withdrawals (including any from previous months) which are listed in
your register but not. shown on your statement.

ENTER
A. The ending balance
shown on your statement oo... . cece cee eee §

ADD

B. Any deposits listed in your $
register or transfers into §
your account which are not 5
shown on your statement. +5

CALCULATE THE SUBTOTAL
(Add Parts A and 8)

SUBTRACT
C. The total! outstanding checks and
withdrawals from the chart above ............, ~§

CALCULATE THE ENDING BALANCE
(Part A-+ Part B - Part C)
This amount should be the same

 

as the current balance shown in
your check register... 0... ccc cek eee eee $

 

 

 

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Number items Gutstanding Amount

Total amount $

 

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